                                              DOC#        2015-0403300
Recording requested by,
and return by mail to'                           Jul 30, 2015       02:28 PM
                                                     OFFICIAL RECORDS
Jeffrey J. Tiorney                               Ernest J. Dronenburg, Jr.,
Goetz, Baldwin & Geddbs PC                     SAN DIEGO COUNTY RECORDER
35 North Grand Avenue                                  FEES: S33.00
P.O. Box 6580                                                           PAGES: 7
Bozeman, MT 59771-6580



                      NOTICE OF PENDENCY OF ACTION
          re: 543 Camino De Orchidia, Encinitas, CA, 92024-3817




                                                                Exhibit
          2:14-bk-61357-JDP Doc#: 226-30 Filed: 03/11/16 Page 1 of 7    19
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